Case 2:08-cr-00137-WFN   ECF No. 1951   filed 03/25/10   PageID.7835 Page 1 of 6
Case 2:08-cr-00137-WFN   ECF No. 1951   filed 03/25/10   PageID.7836 Page 2 of 6
Case 2:08-cr-00137-WFN   ECF No. 1951   filed 03/25/10   PageID.7837 Page 3 of 6
Case 2:08-cr-00137-WFN   ECF No. 1951   filed 03/25/10   PageID.7838 Page 4 of 6
Case 2:08-cr-00137-WFN   ECF No. 1951   filed 03/25/10   PageID.7839 Page 5 of 6
Case 2:08-cr-00137-WFN   ECF No. 1951   filed 03/25/10   PageID.7840 Page 6 of 6
